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              CERTIFICATE OF GOOD STANDING




   United States of America
                                               }ss. Thomas Gerard Pasternak
   Northern District of Illinois



         I, Thomas G. Bruton , Clerk of the United States District Court
   for the Northern District of Illinois,

        DO HEREBY CERTIFY That Thomas Gerard Pasternak
   was duly admitted to practice in said Court on (12/19/1991)
   and is in good standing as a member of the bar of said court.


   Dated at Chicago, Illinois
   on (06/09/2023 )


                                           Thomas G. Bruton , Clerk,

                                           By: Ellen Reyes
                                               Deputy Clerk

      A TRUE COPY-ATTEST
   THOMAS G. BRUTON,
                  -      CLERK
        By: s/ ELLENREYES
          DEPUTY CLERK
U.S. DISTRICT COURT, NORTHERN
       DISTRICT OF- ILLINOIS
            June 9, 2023
